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 6
                               UNITED STATES DISTRICT COURT
 7
                                    DISTRICT OF NEVADA
 8

 9    GILES MANLEY,                                Case No. 3:11-cv-00354-HDM-WGC
10                               Petitioner,
              v.                                                   ORDER
11
      WARDEN;   DIRECTOR OF   NEVADA
12    DEPARTMENT OF CORRECTIONS, et
      al.,
13
                                Respondents.
14

15            This   is   a   counseled   petition    for   writ    of    habeas   corpus

16    pursuant to 28 U.S.C. § 2254 filed by Giles Manley, who is serving,

17    among other sentences, multiple sentences of life without the

18    possibility of parole for crimes he committed at the age of 16.

19            In his fifth ground for relief, Manley alleges that his

20    sentences of life without the possibility of parole constitute

21    cruel    and   unusual    punishment    in    violation      of    the   Eighth   and

22    Fourteenth Amendments. There is currently pending before the U.S.

23    Supreme Court a case that could provide further guidance relevant

24    to Manley’s claim. See Jones v. Mississippi, 140 S. Ct. 1293

25    (2020). The court has concluded that, in the interests of justice,

26    a stay of these proceedings pending the decision in Jones is

27    appropriate.

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 1         IT IS THEREFORE ORDERED that this action is hereby STAYED

 2    pending the decision in Jones v. Mississippi, 140 S. Ct. 1293

 3    (2020), or until further order of the court.

 4         IT IS SO ORDERED.

 5         DATED: This 2nd day of November, 2020.
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                                        UNITED STATES DISTRICT JUDGE
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